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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


U NITED S TATES OF A MERICA
                                        Criminal Action No.
      v.
                                        1:20-CR-429-WMR
N ATHAN H ORTON


                      Sentencing Memorandum

   The United States of America, by Ryan K. Buchanan, United States

Attorney, and Alex Sistla and Samir Kaushal, Assistant United States

Attorneys for the Northern District of Georgia, files this Sentencing

Memorandum to assist the Court in resolving objections to the

Presentence Investigation Report (“PSR”) and sentencing the

defendant, Nathan Horton.

                             Introduction

   Nathan Horton stole hundreds of living, breathing, and thinking

turtles from their native homes in Georgia state parks, threw them in
boxes, and caused them to be shipped to China, earning himself

immense profits while substantially harming Georgia’s native turtle

population. He did so using illegal traps that lacked a legally required

escape ring to prevent the drowning of aquatic animals and birds.

Those traps did not give the turtles even a puncher’s chance of escaping

his greedy hands.
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   The Court should sentence Horton to a meaningful term of

imprisonment at the low-end of the advisory Guidelines range, while

applying enhancements for the market value of turtles being between

$150,000 and $250,000 and aggravating role. To adequately deter him
and others from this egregious conduct in the future, the Court should

also: (i) impose a meaningful fine; (ii) order Horton to complete at least

150 hours of community service; and (iii) bar Horton from trapping

turtles for the entirety of his term of supervised release.

                               Discussion

   A. A conservative estimate of the market value of the
      illegally trapped turtles is between $150,000 to $250,000.

   Horton regularly used illegal traps to capture turtles. (PSR ¶¶ 15

(“They identified the defendant as someone who used an illegal net to

collect turtles[.]”), 20 (“When asked to see one of the traps they had on

the boat, the defendant handed one of the small traps, and the official

explained it was illegal[.]”), 30 (explaining that Horton said he had
illegal traps), 33 (“The trap the defendant described was illegal in the

State of Georgia because although it has a 10-inch ring, fish and turtles

could not escape because of the one-way funnel mesh facing into the

trap.”), 42 (referring to Horton’s use of 27 illegal traps), 100 (“The

defendant instructed B. Martin to buy the traps which had no escape

rings which were the same type as the first thirty traps the defendant
supplied the Martin family with.”). Horton used the illegal traps


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because there is no way he could capture hundreds of turtles in the

time frames he caught them without traps that gave the turtles

essentially no chance of escape. (See id. ¶¶ 20 (“The defendant replied if

they used traps with the larger throats and rings, the small turtles
would escape.”), 99 (“You don’t want those traps. You won’t catch any

turtles with those.”), 101 (“Look at it this way. You’re making

thousands of dollars trapping turtles, right? Would you worry about a

$75 ticket?”).)

   The illegal turtle traps yielded Horton significant profits. Bank

records for Horton’s Wells Fargo Bank account ending in 4246 show
that from April 13, 2016, through October 2, 2017, Ryan Hsieh, the

owner of Worldwide Trading Inc., paid Horton $251,000 for turtles.


 TRANSACTION                  SOURCE OF DEPOSIT                   DEPOSIT AMOUNT
     DATE
 04/13/16         Worldwide Trading Inc. (Bank of America 8088)        $20,000.00
 08/03/16         Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 08/18/16         Worldwide Trading Inc. (Bank of America 8088)         $2,000.00
 08/23/16         Worldwide Trading Inc. (Bank of America 8088)         $2,000.00
 08/30/16         Worldwide Trading Inc. (Bank of America 8088)         $1,000.00
 09/07/16         Worldwide Trading Inc. (Bank of America 8088)        $10,000.00
 09/27/16         Worldwide Trading Inc. (Bank of America 8088)         $1,000.00
 10/13/16         Worldwide Trading Inc. (Bank of America 8088)        $14,000.00
 10/18/16         Worldwide Trading Inc. (Bank of America 8088)        $20,000.00
 01/06/17         Worldwide Trading Inc. (Bank of America 8088)          $500.00
 02/23/17         Worldwide Trading Inc. (Bank of America 8088)         $1,000.00
 03/03/17         Worldwide Trading Inc. (Bank of America 8088)         $4,000.00
 03/07/17         Worldwide Trading Inc. (Bank of America 8088)         $1,500.00
 03/08/17         Worldwide Trading Inc. (Bank of America 8088)         $4,000.00
 03/23/17         Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 03/30/17         Worldwide Trading Inc. (Bank of America 8088)        $10,000.00
 04/05/17         Worldwide Trading Inc. (Bank of America 8088)        $10,000.00



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 TRANSACTION               SOURCE OF DEPOSIT                   DEPOSIT AMOUNT
     DATE
 04/10/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 04/12/17      Worldwide Trading Inc. (Bank of America 8088)         $4,000.00
 04/17/17      Worldwide Trading Inc. (Bank of America 8088)        $10,000.00
 04/19/17      Worldwide Trading Inc. (Bank of America 8088)        $10,000.00
 04/26/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 05/01/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 05/04/17      Worldwide Trading Inc. (Bank of America 8088)        $25,000.00
 05/16/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 05/22/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 05/30/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 06/05/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 06/08/17      Worldwide Trading Inc. (Bank of America 8088)         $3,000.00
 06/12/17      Worldwide Trading Inc. (Bank of America 8088)         $3,000.00
 06/14/17      Worldwide Trading Inc. (Bank of America 8088)         $3,000.00
 06/21/17      Worldwide Trading Inc. (Bank of America 8088)        $20,000.00
 07/17/17      Worldwide Trading Inc. (Bank of America 8088)        $10,000.00
 07/20/17      Worldwide Trading Inc. (Bank of America 8088)         $5,000.00
 07/26/17      Worldwide Trading Inc. (Bank of America 8088)         $3,000.00
 08/10/17      Worldwide Trading Inc. (Bank of America 8088)         $2,000.00
 09/18/17      Worldwide Trading Inc. (Bank of America 8088)         $6,000.00
 10/02/17      Worldwide Trading Inc. (Bank of America 8088)         $1,000.00
               TOTAL                                               $251,000.00

   The government’s estimated market value of between $150,000 to

$250,000 generously focuses solely on the business relationship

between Horton and Hsieh, instead of identifying every vendor to

whom Horton sold turtles, and discounts the $1,000 that would result

in an additional two offense levels, giving some credit to Horton’s

claim—which is unsupported by the evidence— that he sometimes did
not use illegal traps.

   Horton’s bank records—not the turtle permits or export permits as

Horton suggests in his PSR objections—are the best estimate of the
turtles’ market value because they show the actual payments he



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received for the turtles. The permit information, on the other hand, was

manipulated to list other peoples’ names and the other information

reported in the permits was not necessarily correct. (See, e.g., PSR

¶¶ 55, 72, 82, 84.)
   Turning to the Probation Office’s estimate, its estimate of the

market value is not unreasonable given Horton’s description of his

employment and his use of illegal traps. According to Horton, for ten

years, from 2009 to 2019, he was, a “full-time . . . exotic wildlife

collector who sold to wholesalers[.]” (Id. ¶ 161.) Because Horton’s traps

were illegal, looking at all the payments coming into Horton’s bank
account plus other income he reported, as the Probation Office did, is a

fine estimate of Horton’s unlawful gains, albeit slightly more aggressive

than the government’s estimate, which gives Horton the benefit of
every doubt.

   When comparing Horton’s proposed range of $95,000 to $150,000, to

the evidence, that estimated market price materially understates his
gains when looking at the bank records or even Horton’s own estimates

of his profits. Horton estimated his profits to be “approximately $60,000

per year over the course of five years,” meaning that he earned about

$300,000. (Id. ¶ 73.) 1


   1 Due to the complexity of the exercise and to provide Horton with every
benefit of the doubt on market value, neither the government’s nor the
Probation Office’s estimates account for the fair market retail price of the
turtles when they were sold in China. See USSG § 2Q2.1 app. n.4 (directing


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   B. Horton should receive a four-level aggravating role
      enhancement.

   Under the Sentencing Guidelines, a defendant’s base offense level

increases by four levels “[i]f the defendant was an organizer or leader of

a criminal activity that involved five or more participants or was

otherwise extensive[.]” U.S.S.G. § 3B1.1(a). The government bears the

burden of proving the existence of the defendant’s aggravating role by a

preponderance of the evidence. United States v. Shabazz, 887 F.3d

1204, 1222 (11th Cir. 2018). The following factors are relevant to the

application of the role enhancement:

   (1) the exercise of decision-making authority, (2) the nature of
   participation in the commission of the offense, (3) the recruitment
   of accomplices, (4) the claimed right to a larger share of the fruits
   of the crime, (5) the degree of participation in planning or
   organizing the offense, (6) the nature and scope of the illegal
   activity, and (7) the degree of control and authority exercised over
   others.


Id. The enhancement applies where, for example, “there was evidence

that the defendant had recruited participants, had instructed

participants, or had wielded decision-making authority.” United States

v. Caraballo, 595 F.3d 1214, 1231 (11th Cir. 2010); United States v.


that the fair market retail price should be used when possible). For the
sellers in China to earn profits, the fair market retail price in China must
necessarily exceed the prices at which the turtles were bought and sold in the
United States.


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Ndiaye, 434 F.3d 1270, 1304 (11th Cir.2006) (affirming role

enhancement where defendant “exercised authority over the

organization by recruiting and instructing co-conspirators”); United

States v. Suarez, 313 F.3d 1287, 1294 (11th Cir. 2002) (affirming role
enhancement where defendant gave orders to other agents, oversaw the

movement and distribution of illegal drugs, and possessed decision-

making authority); United States v. Mesa, 247 F.3d 1165, 1168–69

(11th Cir.2001) (affirming role enhancement where defendant

“controlled and directed” others in the transportation of illegal drugs

and claimed a larger share of the profits than other participants).
   Here, it is undisputed that Horton controlled at least seven

participants: Roger Costigan, Alex Heriard, Samuel Floyd, Javontae

Crowell, Jarquise Adams, Brad Martin, and Caius Martin. (PSR ¶¶ 23–
24 (explaining that Horton brought Costigan and Adams to the GA-

DNR headquarters to obtain a turtle permit), 25 (explaining that

Costigan brought Heriard to GA-DNR headquarters to obtain a turtle
permit), 26 (listing Adams’s and Heriard’s names on export permits), 32

(attempting to recruit undercover officials), 37 (listing Floyd’s,

Costigan’s, and Heriard’s names on export permits), 51 (explaining that

Horton and Costigan brought Crowell to the GA-DNR headquarters to

obtain a turtle permit), 52 (listing Crowell’s name on export permit), 72

(Horton admitting that he directed others), 82 (recruiting Adams), 83

(listing Adams’s name on export permit), 87 (recruiting Crowell), 90–



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102 (discussing recruitment and direction of Brad Martin and his sons),

95 (explaining that Horton would receive 60 percent of proceeds for

turtles trapped by Brad Martin and his sons).

   During an interview with law enforcement. Costigan provided
insight into Horton’s operation. Horton hired Costigan in 2017 to serve

as an “assistant” and paid him approximately $1,000 per week. (PSR

¶¶ 77–78.) According to Costigan, Horton was “in full control of

business-related decisions”; “handled all financial transactions”;

“owned all the equipment involved,” including the turtle traps; and

“directed all activities involved with obtaining turtles.” (Id. ¶ 78.)
Costigan further explained that Horton directed him to submit export

permits and to deliver turtles shipments to the airport. (Id. ¶¶ 79–81.)

   Based on these facts, Horton should receive a four-level aggravating
role enhancement because he was the leader of a scheme involving five

or more participants and the criminal activity was otherwise extensive.

See USSG § 3B1.1(a). Horton’s scheme plainly involved five or more
participants. See id. And, even if it did not, his criminal activity was

“otherwise extensive” under § 3B1.1(a). Factors relevant to the

extensiveness determination, include “the length and scope of the

criminal activity as well as the number of persons involved.” United

States v. Holland, 22 F.3d 1040, 1045 (11th Cir. 1994); cf. United States

v. Sosa, 777 F.3d 1279, 1301–02 (11th Cir. 2015); United States v.

Rodriguez, 981 F.2d 1199, 1200 & n.3 (11th Cir. 1993). According to the



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commentary for § 3B1.1, sentencing courts should consider “all persons

involved during the course of the entire offense,” including outsiders

who unknowingly provided services. USSG § 3B1.1 cmt. n.3. So, for

example, “a fraud that involved only three participants but used the
unknowing services of many outsiders could be considered extensive.”

Id. “[N]o set number of criminally responsible participants is required”

for criminal activity to be extensive, except that there must be at least

one “participant” other than the defendant. Holland, 22 F.3d at 1045 &

n.8. Here, Costigan was undeniably a participant in the criminal

scheme. (E.g., PSR ¶¶ 77–81.) The turtle and export permits needed to
hide and delay detection of Horton’s criminal conduct and the number

of individuals recruited by Horton add to the extensiveness of the

scheme—a scheme that lasted for years and significantly damaged the
native loggerhead musk turtle population of the State of Georgia. 2 The



   2The Georgia Department of Natural Resources victim impact statement
describes the horrifying consequences of Horton’s conduct:

   Mr. Horton is reported to have trapped an area for turtles until the local
   population was completely exhausted. Based on the average population
   density of loggerhead musk turtles in the wild, collecting 3,000 turtles
   (valued @ $225,000) of this species would be the equivalent of trapping
   to extirpation a 31-mile stretch of a 24-foot-wide river (the width of a
   two-lane highway).

The statement goes on to explain that it would take at least 14 years for the
turtle population to recover.


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disposition of the turtles in China, which required shipments from

Georgia to Hsieh in California and then California to China, also

contributed to the extensive nature of this scheme.

   C. The Court should impose punishment beyond a term of
      imprisonment.

   Lacey Act violations are not uncommon. But Horton’s criminal

conduct was in terms of scale and impact. Hundreds of turtles over

months of illegal trapping. Layers of misleading and false permitting

paperwork. Shipments of turtles to California for later shipment to

China. Thousands of dollars in ill-gotten gains. On these facts, a term

of imprisonment is insufficient to achieve general and specific

deterrence. As such, Horton’s sentence should include other forms of

punishment. First, Horton should be ordered to pay a meaningful fine.

Horton received thousands of dollars for illegally trapping turtles and
believed that it made financial sense for him to do so. (PSR ¶ 101

(“Look at it this way. You’re making thousands of dollars trapping

turtles, right? Would you worry about a $75 ticket?”).) Justice requires

that he pay a within-Guidelines fine that penalizes him for this illegal

activity. Otherwise, the financial incentives to commit crimes like

Horton’s will be too great. Second, because Horton pilfered public lands
that were meant for the enjoyment of everyone, he should be required

to perform community service. Third, Horton should be barred from

trapping turtles or accompanying any other person trapping turtles for



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the entirety of his time on supervised release. E.g., United State v.

Campbell, 6:19-cr-00400 (D. Or. Nov. 23, 2020) (Doc. 46) (including a

special condition of supervised release stating: “You must not fish,

angle or hunt in the United States. You must not possess any fishing
poles, fishing tackle, guns, bows or any other hunting equipment. You

must not accompany any other person in the United States while they

are fishing, angling, or hunting.”).

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                                    Respectfully submitted,

                                    R YAN K. B UCHANAN
                                         United States Attorney


                                  /s/ A LEX S ISTLA
                                         Assistant United States Attorney
                                    Georgia Bar No. 845602
                                    Alex.Sistla@usdoj.gov



                                  /s/ S AMIR K AUSHAL
                                       Assistant United States Attorney
                                    Georgia Bar No. 935285
                                    Samir.Kaushal@usdoj.gov




      600 U.S. Courthouse, 75 Ted Turner Drive S.W., Atlanta, GA 30303
                     (404) 581-6000 fax (404) 581-6181

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                          Thomas Hawker

                          Attorney for Defendant Nathan Horton


May 5, 2022


                                     /s/ S AMIR K AUSHAL

                                     S AMIR K AUSHAL

                                     Assistant United States Attorney
